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 9   UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
14             Plaintiff,                       DECLARATION OF DEREK E. HINES
15                                              IN SUPPORT OF GOVERNMENT’S
                      v.                        OPPOSITION TO DEFENDANT’S
16                                              MOTION TO DISMISS FOR
     ALEXANDER SMIRNOV,                         UNSPECIFIED DISCOVERY
17                                              VIOLATION
18             Defendant.
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 1                           DECLARATION OF DEREK E. HINES
 2   I, Derek E. Hines, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I
 4         have personal knowledge of the matters contained in this declaration and, if called
 5         as a witness to testify, I would competently testify to them. This declaration is
 6         offered in support of the government’s opposition to the defendant’s motion to
 7         dismiss for an unspecified discovery violation. ECF 162.
 8      2. On October 16, 2024, the defendant filed a motion to compel the production of
 9         certain discovery, ECF 139. In an effort to resolve disputes and avoid wasting the
10         Court’s time, the government produced some additional materials on October 25,
11         2024, rather than waiting to disclose the discovery with the other Jencks materials
12         one week before trial. This production included approximately 420 reports
13         documented on a form “1023,” which consisted of a total of approximately 739
14         pages.
15      3. The defendant filed his motion to dismiss on November 5, 2024.
16      4. On November 5, 2024, I read and reviewed all 420 reports in less than 4 hours
17         while preparing the government’s response to the defendant’s second ex parte
18         motion to continue the trial, ECF 159. The majority of the reports are 1 page in
19         length, and in some instances, include only a couple of sentences on each page.
20         Approximately 366 of the reports are 1-2 pages in length. Approximately 47 of
21         the reports are 3-4 pages in length. Approximately 7 of the reports are 5 pages or
22         more in length.
23   Executed on this 12th day of November, 2024 in the Commonwealth of Pennsylvania.
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25                      ______________
26                      Derek E. Hines
27                      Senior Assistant Special Counsel
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